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B1040 (FORM 1040) (12/15)

 

 

 

ADVERSARY PROCEED!NG COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (C°“" Use Only)
PLAINTIFFS DEFENDANTS
John J. O'Neil, Jr., Trustee 0n Deck Capital, Inc., Financial Agent

Services as Agent for On Deck Capital, Inc.,
Simsbury Bank and Trust Company, State of
Connecticut Dept. of Revenue Serviceq

 

ATTORNEYS (Firm Name, Address, and Telephone No.) ATTORNEYS (If Known)
Francis O'Neil LLC

255 Main Street

Hartford, CT 06106 860-527-3271

 

PARTY (Check One Box Only) PARTY (Check One Box Only)

tr Debtor tr U.S. Trustee/Bankruptcy Adrnin tr Debtor m U.S. anstee/Bankruptcy Admin
cl Creditor tr Other tr Creditor QFOther

al Trustee l:i Trustee

 

 

CAUSE OF ACTION (WRITE A BR[EF STATEMEN'I` OF CAUSE OF ACI'ION, INCLUDING ALL U.S. STATUTES INVOLVED)

This action is being brough to determine Validity, priority and extent of liens
pursuant to 11 U.S.C. Section 506(c)

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as l, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) - Recovery of Money/Property FRBP 7001(6) - Dischargeability (continued)
ll-Recovery of money/property - §542 turnover of property i:i 6l-Dischargeability - §523(a)(5), domestic support
i:i lZ-Recovery of money/property - §547 preference i:i 68-Dischargeability - §523(a)(6), willful and malicious injury
i:] 113-Recovery of money/property - §548 fraudulent transfer i:i 63-Dischargeability - §523(a)(8), student loan
m l4-Recovery of money/property - other m ()4-Dischargeabiiity - §523(a)(15), divorce or separation obligation
(other than domestic support)
FRBP 7001(2) - Validity, Priorlty or Extent of Lien [:| 65_Di5chargeability _ Other

§ Zl-Validity, priority or extent of lien or other interest in property
FRBP 7001(7) - Injunctive Relief

FRBP 7001(3) “ Appr°val of sale °f Pr°perty 7 l -Injunctive relief - imposition of stay
3l-Approval of sale of property of estate and of a co-ewner - §363(h) l:] 72_1njun cti V c relief__ other
FRBP 7001(4) ‘ Obj°°“°“’R°V°°““°“ °f D‘*°""g° FRBP 7001(8) subordination of claim or lnceresc

4l-Objection / revocation of discharge - §727(¢),(d),(e) 81_Subordination of claim or interest

FRBP 7001(5) - Revocatlon of Conlirmation FRBP 7001(9) Declaratory Judgment
51-Revoeation of continuation 9 l _Declaratory judgmem

FRBP 7001(6) _ mschargeabi"ty FRBP 7001(10) Determinatlon of Removed Actlon
ij 66-Dischargeability - §523(a)(l),(l4),(l4A) priority tax claims

g 62-Dischargeability - §523(a)(2), false pretenses, false rcpresentation,
actual fraud Other

i:i 67-Dischargwbility - §523(a)(4), fraud as tiduciary, embezzlement, larceny i:i SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.

ij 02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

Ol-Determination of removed claim or cause

(continued next column)

 

\:l Check if this case involves a substantive issue of state law m Check if this is asserted to be a class action under FRCP 23

 

 

r:l Check if a jury trial is demanded in complaint Demand $

 

 

Other Relief Sought

 

 

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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
Holmes & Bahre Paint & Body Engineering, Inc. 15-21045
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF IUDGE
Connecticut Hartford James J. Tancredi
,; f, RELATED ADVERSARY PROCEEDING (IF ANY) '
PLAINTIFF DEFENDANT ADVERSARY
PROCEED_ING NO.
DIVISION OFFICE NAME OF JUDGE

 

 

DIS'I`RICT IN WHICHWY IS PENDING

 

siGNATURE or Aa"foRNEY (

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DATE

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PRINT NAME OF ATTORNEY (OR PLAINTIFF)
John J. O'Neil, Jr.

 

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INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction ofthe court so broad, there may be lawsuits over the property or property rights of the cstate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary

proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding

Cover Sheet, unless the party files the adversary proceeding elect

ronically through the court’s Case Management/Electronic

Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings

or other papers as required by law, the Bankruptcy Rules, or the l
explanatory, must be completed by the plaintiffs attorney (or by

ocal rules of court. The cover sheet, Which is largely self-
the plaintiff if the plaintiff is not represented by an

attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants

Demand. Enter the dollar amount being demanded in the complaint

Signature. This cover sheet must be signed by the attorney of re

cord in the box on the second page of the form. If` the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an

attorney, the plaintiff must sign.

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
HARTFORD DIVISION

 

IN RE: : CHAPTER 7

HOLMES 85 BAHRE PAINT 85 BODY
ENGINEERING, INC. '
d/b/a HOLMES & BAHRE PAINT 86 BODY,:

 

INC. : CASE NO. 15-21045 (JJT)
Debtor
JOHN J. O’NEIL, JR., TRUSTEE : ADVERSARY PROCEEDING
NO.
Plaintiff
VS.

ON DECK CAPITAL, INC.

FINANCIAL AGENT SERVICES

SIMSBURY BANK & TRUST COMPANY

STATE OF CONNECTICUT, DEPARTMENT:
OF REVENUE SERVICES

Defendants

 

COMPLAINT TO DETERMINE VALIDITY, PRIORITY
AND EXTENT OF SECURED CLAIMS

John J. O’Neil, Jr., Chapter 7 Trustee for Holmes &, Bahre Paint &,
Body Engineering, Inc. d/ b / a Holmes &, Bahre Paint 85 Body, Inc. Holrnes 85

Bahre Paint & Body Engineering, Inc. (the “Plaintiff”, in support of this

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complaint (the “Complaint”) to determine the validity, priority and extent of
liens held of record by State of Connecticut, Department of Revenue
Services, On Deck Capital, Inc., Financial Agent Services and The Simsbury
Bank 85 Trust Company (the “Defendants”), hereby alleges upon information
and belief that:
NATURE OF THE CASE
1. This complaint seeks to determine the validity, extent and
nature of liens held by Simsbury Bank 85 Trust Company, State of
Connecticut, Department of Revenue Services, On Deck Capital, Inc. and
Financial Agent Services.
JURISDICTION
2. The Court has subject matter jurisdiction over this adversary
proceeding pursuant to 28 U.S.C. §§ 157 and 1334(b).
3. This adversary proceeding is a “core” proceeding to be heard and
determined by the Bankruptcy Court pursuant to 28 U.S.C. §157(b)(2).
4. Venue is proper in the District of Connecticut pursuant to 28
U.S.C. §1391 and 1409.
BACKGROUND
5. On June 12, 2015 (the “Petition Date”), the debtor, Holmes 85

Bahre Paint 85 Body Engineering, Inc. d/b/a Holmes 85 Bahre Paint 85 Body,

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Inc. filed a Chapter 7 voluntary petition.

6. John J. O’Neil, Jr. was appointed as Chapter 7 Trustee for the
Debtor’s Estate.

7. At the time of the aforementioned filing, The Simsbury Bank 85
Trust Company claimed an interest in personal property of the debtor by
virtue of a UCC-l (#0002188929) dated March 3, 2003 and recorded in
Volume 265 at Page 1934 of the records of the Connecticut Secretary of
State.

8. On the aforementioned date, the State of Connecticut claimed a
security interest in personal property of the debtor pursuant to a UCC- 1
filing statement dated June 18, 2014 and recorded in Volume 523 at Page
286 of the Connecticut Secretary of State.

9. The defendant, On Deck Capital, Inc., on the aforementioned
date, claimed a security interest in personal property of the debtor by virtue
of a UCC-l filing statement filed by Financial Agent Services dated May 15,
2015 and recorded in Volume 552 at Page 2492 of the records of the
Connecticut Secretary of State.

10. Pursuant to an Order of this Court dated January 15, 2016,
(ECF #56), the Trustee Was authorized to sell equipment and office

equipment utilized in the business of the debtor free and clear of liens. Said

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liens to attach to the proceeds of sale subject to further order of this Court.
ARGUMENT

1 1. The claim of the Simsbury Bank and Trust Company has upon
information and belief been satisfied prior to filing. The UCC filing being last
amended December 31, 2012 in Volume 477 at Page 2707 is no longer void.

12. On Deck Capital, Inc. claims an interest in said personal
property by virtue of a UCC filing by its Agent, Financial Agent Services Inc.
on May 14, 2015 in Volume 555 at Page 2452. Upon information and belief
the security agreement supporting the interest of On Deck Capital, Inc. was
executed by an employee of the debtor without authority who subsequently
post petition transferred also without authority a major portion of the funds
advanced per judgment of this Court dated November 30, 2016.

13. The State of Connecticut has claimed a security interest in
personal property of the Debtor pursuant to a UCC- 1 Filing Statement dated
June 18, 2014 and recorded in Volume 523 at Page 286 of the records of the
Connecticut Secretary of State. The claim of the State of Connecticut is
upon information and belief prior in time and right to claims of the Simsbury

Bank and Trust Company and On Deck Capital, Inc.

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RELIEF SOUGHT

WHEREFORE, the Plaintiff, Trustee requests that this Court enter an
Order

Disallowing as secured the claims of On Deck Capital, Inc. as secured
by Financial Agent Services and Simsbury Bank and Trust Company; and

Allow the claim of the State of Connecticut, Department of Revenue
Services as the sole valid secured claim to the proceeds from the sale of the
personal property of the debtor.

PLAINTIFF
JOHN J. O’NEIL, JR., TRUSTEE

By: /s/ John J. O’Neil. Jr.
John J. O’Neil, Jr.
Francis O’Neil LLC
255 Main Street
Hartford, CT 06106
Telephone: 860-527-3271

